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                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________


No. 23-1157                                                     September Term, 2023
                                                                             EPA-88FR36654
                                                       Filed On: January 4, 2024 [2034457]
State of Utah, by and through its Governor,
Spencer J. Cox, and its Attorney General,
Sean D. Reyes,

                   Petitioner

         v.

Environmental Protection Agency and
Michael S. Regan, Administrator, U.S. EPA,

                   Respondents

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City Utilities of Springfield, Missouri, et al.,
                   Intervenors
------------------------------

Consolidated with 23-1181, 23-1183,
23-1190, 23-1191, 23-1193, 23-1195,
23-1199, 23-1200, 23-1201, 23-1202,
23-1203, 23-1205, 23-1206, 23-1207,
23-1208, 23-1209, 23-1211, 23-1306,
23-1307, 23-1314, 23-1315, 23-1316,
23-1317

                                             ORDER

      Upon consideration of petitioners’ emergency joint motion to modify briefing
schedule, it is

       ORDERED that the following briefing schedule will now apply in this case. The
briefing format and word limits established by the court’s order filed on December 4,
2023 remain in effect.

          Petitioners' Briefs                                             April 1, 2024
          Intervenors for Petitioners' Briefs                            April 22, 2024
USCA Case #23-1183      Document #2034457              Filed: 01/04/2024       Page 2 of 2


              United States Court of Appeals
                          FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                   ____________

No. 23-1157                                              September Term, 2023

     Respondents' Brief                                           June 17, 2024
     Intervenors for Respondents' Briefs                            July 8, 2024
     Petitioners' Reply Briefs                                     July 29, 2024
     Intervenors for Petitioners' Reply Briefs                    August 9, 2024
     Deferred Appendix                                           August 15, 2024
     Final Briefs                                                August 22, 2024


                                                       FOR THE COURT:
                                                       Mark J. Langer, Clerk

                                                 BY:   /s/
                                                       Catherine J. Lavender
                                                       Deputy Clerk




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